              Case 2:13-cr-00117-JAM Document 70 Filed 12/18/14 Page 1 of 3



 1   KYLE R. KNAPP (SBN 166597)
     ATTORNEY AT LAW
 2
     1120 D Street, Suite 100
 3   Sacramento, CA. 95814
     Tel. (916) 441-4717
 4   Fax (916) 441-4299
     E-Mail: kyleknapp@sbcglobal.net
 5

 6   Attorney for Defendant
     DANIEL COVARRUBIAS
 7

 8                       IN THE UNITED STATES DISTRICT COURT FOR THE

 9                              EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                      )       No. 13-CR- 00117-GEB
                                                    )
12                                                  )       STIPULATION AND
            Plaintiff,                              )       [PROPOSED] ORDER CONTINUING
13                                                  )       SENTENCING HEARING
     v.                                             )
14                                                  )
     DANIEL COVARRUBIAS,.                           )       Date: April 24 2014
15                                                  )       Time: 9:00am.
                                                    )       Judge: Honorable Garland E. Burrell, Jr
16
            Defendants.                             )
                                                    )
17                                                  )
                                                    )
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19          IT IS HEREBY stipulated between the United States of America through its undersigned

20   counsel, Olusere Olowoyeye, Assistant United States Attorney, attorney for plaintiff, together

21   with Kyle Knapp, attorney for defendant Daniel Covarrubias, that the previously-scheduled

22   status conference, currently set for December 19, 2014, be vacated and that the matter be set for

23   judgment and sentencing on April 24, 2015 at 9:00 a.m.

24          Counsel have conferred and this continuance is requested to allow defense counsel

25   additional time to present mitigation evidence in this matter, confer with the Assistant United

26   States Attorney and gather further information that potentially could reflect on Mr. Covarrubias’

27   exposure in this matter. Additionally, Mr. Covarrubias’ co-defendant will not be sentenced

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               Case 2:13-cr-00117-JAM Document 70 Filed 12/18/14 Page 2 of 3



 1   until April and Mr. Olowoyeye will be out of the office for several months in the imminent
 2   future.
 3   IT IS SO STIPULATED.
 4
     Dated: December 17, 2014                                    BENJAMIN B. WAGNER
 5                                                          UNITED STATES ATTORNEY

 6                                                   by:    /s/ Olusere Olowoyeye
                                                            OLUSERE OLOWOYEYE
 7
                                                            Assistant U.S. Attorney
 8                                                          Attorney for Plaintiff

 9   Dated: December 17, 2014                               /s/ Kyle Knapp
10
                                                            KYLE KNAPP
                                                            Attorney for Defendant
11                                                          DANIEL COVARRUBIAS
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              Case 2:13-cr-00117-JAM Document 70 Filed 12/18/14 Page 3 of 3


                                        [PROPOSED] ORDER
 1
            The Stipulation of the parties is hereby accepted and the requested continuance is
 2
     GRANTED. This matter shall be dropped from this court’s December 19, 2014 criminal
 3
     calendar and re-calendared for sentencing on April 24, 2015.
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 5          IT IS SO ORDERED.
     Dated: December 17, 2014
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